
AYRES, Judge.
Plaintiff, for labor and materials furnished in connection with the drilling and completion of an oil and gas well known as T. J. Owens No. 1 Well, Richland Parish, Louisiana, claimed a lien and privilege on the property situated on the leased premises and used in connection with the said work.
This case was consolidated with the case of Fred E. Cooper, Inc., v. Farr, La.App., 165 So.2d 605, and with the case of Dia-Log Company v. Anderson, La.App., 165 So.2d 610, both of which were this day decided.
For the reasons assigned in the consolidated cases, the judgment herein appealed is affirmed at intervenors-appellants’ cost.
Affirmed.
